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          MEMO ENDORSED
                                             July 5, 2022

BY ECF
Honorable Valerie E. Caproni                                USDC SDNY
United States District Court                                DOCUMENT
Southern District of New York                               ELECTRONICALLY FILED
40 Foley Square                                             DOC #:
New York, New York 10007                                    DATE FILED: 7/5/2022

Re:    United States v. Marcus Frazier,
       21 Cr. 649 (VEC)

Dear Judge Caproni:

       With the Government’s consent, I write to respectfully request a two-
day extension, to July 7, 2022, for the defense to file its sentencing
submission in connection with the above-captioned case. I am not seeking an
adjournment of the July 18, 2022, sentencing proceeding. I require a two-day
extension of the July 5, 2022, deadline to perfect Mr. Frazier’s sentencing
submission and to further confer with the defense’s retained
mitigation/psychological expert about the report she prepared concerning Mr.
Frazier, which bears on the Court’s consideration of the 18 U.S.C. § 3553(a)
factors.

       Thank you for considering this application.

                                             Respectfully Submitted,



                                             Andrew J. Dalack, Esq.
                                             Assistant Federal Defender
Cc:    AUSA Katherine C. Reilly
       Counsel for the Government            Counsel for Marcus Frazier
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Application GRANTED.

SO ORDERED.


                               Date: 7/5/2022

HON. VALERIE CAPRONI
UNITED STATES DISTRICT JUDGE
